Case: 1:15-cv-05781 Document #: 236 Filed: 10/20/17 Page 1 of 1 PageID #:6727

                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

Federal Trade Commission, et al.
                                          Plaintiff,
v.                                                          Case No.: 1:15−cv−05781
                                                            Honorable Gary Feinerman
Lifewatch INC., et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 20, 2017:


        MINUTE entry before the Honorable Gary Feinerman:The dispositive motion
deadline is extended to 12/23/2017. Responses to dispositive motions shall be filed by
2/2/2018; replies due by 2/23/2018. Defendants shall serve their Rule 26(a)(2) disclosures
by 12/15/2017. Defendants' retained experts shall be deposed by 2/1/2018. Plaintiffs shall
serve their Rule 26(a)(2) disclosures by 3/15/2018. Plaintiffs' retained experts shall be
deposed by 4/19/2018. If Plaintiffs move for summary judgment, Defendants may support
their oppositions with affidavits or declarations from their expert(s). Status hearing set for
10/25/2017 [234] is stricken and re−set for 1/10/2018 at 9:15 a.m.Mailed notice.(jlj, )




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